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                 Exhibit B
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From:
To:             OPS EAST SECTOR; OPS WEST SECTORS; OPSCENTRALSECTORS
Cc:             Immigration Prosecution & Custody OPS;     ;T
Subject:        Update 212F Third Country
Date:           Wednesday, February 19, 2025 5:31:48 PM
Attachments:    212 Tear Sheet FINAL.docx
                212(f) process model FINAL.docx


Corridors,


BLUF: The United States (U.S.) has enacted agreements with several Central American
countries to receive third country nationals who have illegally entered the U.S. These aliens
are primarily citizens of countries that the Department of Homeland Security (DHS) has
identified as “Hard to Remove.” DHS is implementing the below process to document the
encounter and transfer of these aliens out of custody.

DHS PROCESS:
    All illegal aliens subject to Presidential Proclamation 10888, Guaranteeing the States
    Protection Against Invasion, will be processed pursuant to sections 212(f) and 215(a) of
    the Immigration and Nationality Act.
    Customs and Border Protection (CBP) will notify illegal aliens not being directly
    transferred to their country of citizenship or nationality to which country they will be
    sent.
           Verification and status of countries currently accepting third country nationals
           from the United States will be confirmed with DHS OIA prior to movement.
           Aliens will be presented with the 212(f) Tear Sheet noting the country of
           designation.
           In accordance with Presidential Proclamation 10888, the alien will not be asked
           fear questions.
    Illegal aliens who manifest a fear of the country to which CBP intends to return them,
    will be referred to United States Citizenship and Immigration Services (USCIS) for a
    Convention Against Torture (CAT) screening.
    CBP will include on the I-213 the designated country of return and provide this to
    USCIS so that USCIS can screen the alien for the appropriate country.
           USCIS will interview the alien and issue a determination:
                  Negative: CBP will continue with transfer of the alien to the designated
                  country.
                  Positive: CBP may designate another third country for removal or CBP may
                  place the alien into proceedings with the Executive Office of Immigration
                  Review (EOIR) for final adjudication of their CAT claim.
           If for any reason the designated country changes after USCIS has issued a
           determination and the alien manifests a fear for the newly designated country,
           CBP will again refer the case to USCIS for another CAT screening relative to the
           newly designated country.

      Once DHS processing is complete, including a finding of no fear by USCIS or if the


                                                                                       USA00016
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     alien has not manifested a fear, the alien can be transferred to the designated country on
     the next scheduled movement.

Border Patrol

212(f) Direct Repatriations to Third Country




           Agents will be required to book all subjects under 1182f, from whom DNA is
           collected
                                         These subjects should be booked under 8 USC 1182
           (Inadmissible Aliens).
     Document the issuance of the Tear Sheet within the I-213 Narrative.
     Alien will be provided the Tear Sheet. (b) (5)




Division Chief
USBP Headquarters, LEOD
Immigration, Prosecution, and Custody Operations
U.S. Border Patrol Headquarters
C:




                                                                                      USA00017
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                                    Transportation to [Insert Country]
         Presidential Proclamation 10888 -- Guaranteeing the States Protection Against Invasion
You are being transported from the United States to _______________, under Presidential Proclamation 10888,
Guaranteeing the States Protection Against Invasion, as an alien whose entry to the United States has been
suspended pursuant to sections 212(f) and 215(a) of the Immigration and Naturalization Act, as well as the
powers of the President under the Constitution of the United States. The United States has arrangements with
countries, including the country noted above, that allow for aliens to be transported there.


By my signature, I acknowledge that this information has been provided to me and I have read and understood
the statement contained above.


_____________________________-________________                _______________________________-_____
                   Print Name [A- Number]                             Signature [DATE/TIME]




[If translated] - I, __________________________, read this form to the alien whose signature appears above, in
______________________________________ language, which the alien understands.




                                                                                                 February 2025
                                                                                             USA00018
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                                 U.S. Department of Homeland Security
                               National Security Incident Command Center
                                            Washington, D.C.


ISSUE / BRIEFING TOPIC:

The United States (U.S.) has enacted agreements with several Central American countries to receive third
country nationals who have illegally entered the U.S. These aliens are primarily citizens of countries that the
Department of Homeland Security (DHS) has identified as “Hard to Remove.” DHS is implementing the below
process to document the encounter and transfer of these aliens out of custody.

DHS PROCESS:

   •   All illegal aliens subject to Presidential Proclamation 10888, Guaranteeing the States Protection Against
       Invasion, will be processed pursuant to sections 212(f) and 215(a) of the Immigration and Nationality
       Act.
   •   Customs and Border Protection (CBP) will notify illegal aliens not being directly transferred to their
       country of citizenship or nationality to which country they will be sent.
           o Verification and status of countries currently accepting third country nationals from the United
               States will be confirmed with DHS OIA prior to movement.
           o Aliens will be presented with the 212(f) Tear Sheet noting the country of designation.
           o In accordance with Presidential Proclamation 10888, the alien will not be asked fear questions.
   •   Illegal aliens who manifest a fear of the country to which CBP intends to return them, will be referred to
       United States Citizenship and Immigration Services (USCIS) for a Convention Against Torture (CAT)
       screening.
   •   CBP will include on the I-213 the designated country of return and provide this to USCIS so that USCIS
       can screen the alien for the appropriate country.
           o USCIS will interview the alien and issue a determination:
                    Negative: CBP will continue with transfer of the alien to the designated country.
                    Positive: CBP may designate another third country for removal or CBP may place the
                        alien into proceedings with the Executive Office of Immigration Review (EOIR) for final
                        adjudication of their CAT claim.
           o If for any reason the designated country changes after USCIS has issued a determination and the
               alien manifests a fear for the newly designated country, CBP will again refer the case to USCIS
               for another CAT screening relative to the newly designated country.
                   
   •   Once DHS processing is complete, including a finding of no fear by USCIS or if the alien has not
       manifested a fear, the alien can be transferred to the designated country on the next scheduled
       movement.




                                        FOR OFFICIAL USE ONLY
                                                                                               USA00020
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212(f) Tear Sheet:


                                    Transportation to [Insert Country]

         Presidential Proclamation 10888 -- Guaranteeing the States Protection Against Invasion

You are being transported from the United States to _______________, under Presidential Proclamation 10888,
Guaranteeing the States Protection Against Invasion, as an alien whose entry to the United States has been
suspended pursuant to sections 212(f) and 215(a) of the Immigration and Naturalization Act, as well as the
powers of the President under the Constitution of the United States. The United States has arrangements with
countries, including the country noted above, that allow for aliens to be transported there.

By my signature, I acknowledge that this information has been provided to me and I have read and understood
the statement contained above.

_______________________________-_____
Signature
[DATE/TIME]

[If translated] - I, __________________________, read this form to the alien whose signature appears above, in
______________________________________ language, which the alien understands.




                                     FOR OFFICIAL USE ONLY                                                    2
                                                                                             USA00021
